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                               EXHIBIT 
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     1                     UNITED STATES DISTRICT COURT

     2                      NORTHERN DISTRICT OF OHIO

     3                            EASTERN DIVISION

     4

     5    -----------------------------) MDL No. 2804

     6    IN RE NATIONAL PRESCRIPTION          )

     7    OPIATE LITIGATION                    ) Case No. 17-md-2804

     8                                         )

     9    This document relates to:            ) Hon. Dan A. Polster

    10    All Cases                            )

    11    -----------------------------) VOLUME I

    12

    13                          HIGHLY CONFIDENTIAL

    14            SUBJECT TO FURTHER CONFIDENTIALITY REVIEW

    15

    16                  The videotaped deposition of STEPHEN SEID,

    17    called for examination, taken pursuant to the Federal

    18    Rules of Civil Procedure of the United States District

    19    Courts pertaining to the taking of depositions, taken

    20    before JULIANA F. ZAJICEK, a Registered Professional

    21    Reporter and a Certified Shorthand Reporter, at the

    22    offices of Dechert LLP, Suite 3400, 35 West Wacker

    23    Drive, Chicago, Illinois, on December 12, 2018, at

    24    1:43 p.m.

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     1           Q.     And what kind of experience did you have

     2    going into the job with wholesalers and chains?

     3           A.     I had had some experience as a sales rep

     4    and district manager and to some degree as a regional

     5    manager calling on those accounts, dealing with those

     6    accounts, actually supporting the national accounts

     7    groups -- group with a couple of accounts.

     8           Q.     And why would you have been calling on

     9    wholesalers as a -- when you were in the regional

    10    manager position?

    11           A.     Because the national accounts group at

    12    that time was heavily focused, although they had

    13    responsibility for the products going into wholesalers

    14    and chains, that they didn't have as much day-to-day

    15    responsibilities for prescription products.               So to

    16    support them to a -- to some degree we would call on

    17    some of those accounts.

    18           Q.     And did that change over time that the

    19    wholesalers began to have more responsibility for

    20    prescription products or to increase their

    21    responsibility with respect to prescription products?

    22           A.     The department had more responsibility,

    23    not the wholesalers.

    24           Q.     I see.    The -- the department at Purdue?

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     1           A.     Yes.

     2           Q.     So initially the department at Purdue was

     3    involved with wholesalers and chains with respect to

     4    over-the-counter products?

     5           A.     With over-the-counters primarily they had

     6    responsibility for the Rx products, but they just

     7    didn't spend a lot of time with them.

     8           Q.     And was that beginning to change before

     9    you became --

    10           A.     It was beginning to change some, but it

    11    changed dramatically when I took the position.

    12           Q.     And -- and why did it change dramatically,

    13    apart from you taking it over, but what did -- what

    14    did you do to change it?

    15           A.     I felt that -- the first thing I did was I

    16    upped the education of my team on both business and --

    17    and products and marketplace to make them more of

    18    business and marketplace experts so that they could be

    19    a greater resource for their accounts.             I got them

    20    engaged with the products from product knowledge-wise

    21    even though they didn't have to spend as much time,

    22    they didn't call on healthcare professionals, because

    23    I felt that it was important that they knew it better

    24    than they did, and I upped their level of engagement.

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     1           Q.     Would it be fair to say that you had

     2    your -- your people undergo some of the same types of

     3    training about the products that the sales

     4    representatives would have?

     5           A.     Yes.

     6           Q.     And how did you do that?         Did they take

     7    the sales training modules?

     8           A.     Yes, they did.

     9           Q.     And who was it that you had do that on

    10    your team?     What -- what -- how many were on your team

    11    when you -- when you went in as the senior director of

    12    national accounts?

    13           A.     There were four national account reps.

    14           Q.     And those national account reps had not

    15    had that training previously?

    16           A.     They had some of it.        They just didn't

    17    have it to the frequency and depth they did

    18    afterwards.

    19           Q.     Okay.    And did you have those four

    20    national account representatives undergo the sales

    21    representative training with respect to the products

    22    that they would be responsible for?

    23           A.     They went to similar training, not

    24    necessarily the exact training, but similar training.

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     1           Q.     And how did you do that?

     2           A.     Either by formal training through the

     3    training department or online training modules or

     4    training we would do at meetings.

     5           Q.     Did they have to take any quizzes or

     6    become certified?

     7           A.     Yeah, they had to take quizzes.

     8           Q.     And did you -- did you grade them?

     9           A.     No.

    10           Q.     Did you know what they got on them?

    11           A.     Yes.

    12           Q.     Did everybody do okay?

    13           A.     Yeah, some better than others as in any

    14    group, but they did -- they did fine.

    15           Q.     And MS Contin and OxyContin, both

    16    continual release as well as immediate release were

    17    part of that training?

    18           MR. HOFFMAN:     Object to form.

    19    BY THE WITNESS:

    20           A.     Any product that Purdue was distributing

    21    was part of the training, and if there was a new

    22    product, when Butrans came out or whatever product

    23    came out, Intermezzo, they were trained on it.

    24    BY MS. CONROY:

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     1           Q.     Okay.    And you believe that prepared them

     2    to have better interaction with their customers who

     3    were the wholesalers?

     4           A.     Yes, I did.

     5           Q.     And did you have any metrics on that?

     6    Could you -- could you tell whether it work -- whether

     7    your idea worked?

     8           A.     Certainly by observation of the frequency

     9    and the levels of the organizations they dealt with,

    10    it looked to have impact.

    11           Q.     And it -- it looked to have impact because

    12    they sold a lot more product to the wholesalers,

    13    correct?

    14           A.     No, they weren't -- it wasn't about

    15    selling more product, it was to be -- have a better

    16    understanding of why the wholesaler carried what

    17    inventory they -- they carried and how they

    18    distributed it.       And particularly as it related to the

    19    issues related to the safe, secure distribution of the

    20    product, it enabled them to get into different and

    21    higher levels of the organization to the point where

    22    they were a useful resource to the people in the

    23    supply chain and customer service.            They did things

    24    that -- it was great exposure for them also.               They

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     1    didn't just go to an office.           They went to -- into

     2    vaults and saw how the product was stored and how it

     3    was received.

     4           Q.     Having them do that didn't decrease sales

     5    for Purdue, did it?

     6           MR. HOFFMAN:     Object to form.

     7    BY THE WITNESS:

     8           A.     No.

     9    BY MS. CONROY:

    10           Q.     And was management supportive of this?

    11           A.     Yeah, yes, they were.

    12           Q.     And how did they -- how did management

    13    learn about that?       Did you -- were you reporting to

    14    somebody at that time?

    15           A.     Yeah.    Jim Lang, Russ Gasdia, Mark

    16    Alphonso at various times.

    17           Q.     And were they supportive of you increasing

    18    the training of -- of your national account

    19    representatives and having them out in the field?

    20           A.     Yes.

    21           Q.     And at this time are you also taking a

    22    look at what data is available to you?

    23           A.     I looked at -- my responsibility at that

    24    time when I first came in was a commercial

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     1    responsibility.       So sales numbers, inventory numbers,

     2    inventory levels, returns, out-of-date goods, that --

     3    those type of things.         So the data I looked at related

     4    to the business.

     5           Q.     Had you had any familiarity with inventory

     6    numbers and levels as a regional manager?

     7           A.     Not much.

     8           Q.     So this was new for you?

     9           A.     Yeah, to a great degree it was new.

    10           Q.     And how did you acquaint yourself with

    11    what was available and what you would need in order

    12    to -- in order to know what the inventory numbers were

    13    and to understand what the returns were, how did --

    14    how did you familiarize yourself with that?

    15           A.     I did something that my predecessor failed

    16    to do and that was to reach out to every department

    17    that my folks touched and that touched my department.

    18    And I spent time with -- with logistics and customer

    19    service and finance and medical and regulatory and

    20    anybody who touched the product and to help it get out

    21    into the marketplace.

    22                  And the other thing I did was pack my bag

    23    and go out and see my customers, because the best way

    24    to find out what a customer needs and who they are is

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      1    to look them in the eye.

      2          Q.      Okay.    Let's start first with reaching out

      3    to the departments at Purdue.

      4                  And you mentioned that you went to

      5    logistics.     That's at Purdue?

      6          A.      Yes.

      7          Q.      That's an internal department?

      8          A.      Yes.

      9          Q.      And what could logistics tell you?

     10          A.      Logistics, we talked about how the product

     11    was shipped, how inventory levels were developed, what

     12    quotas looked like, what issues may be affected by

     13    quota.     Certainly as we got towards the end of the

     14    year, which helped me manage inventory, how we could

     15    interface with logistics and help them be more

     16    efficient in shipping the product so that it was more

     17    efficiently and securely received, how to help avoid

     18    anything from damages to returns.            So that was big

     19    with logistics.

     20          Q.      Did logistics have a -- data or a

     21    database?

     22          A.      I'm sure they did.

     23          Q.      Is that something that you were interested

     24    in to -- or were you -- or did you already have that

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      1    data at national accounts?

      2          A.      I had, yeah, pretty much the data I

      3    needed.

      4          Q.      So you didn't need to build your data, you

      5    just needed to understand what was behind the data

      6    that you already had access to?

      7          A.      Yes.

      8          Q.      And one way you did that was by -- by

      9    going and learning about all of the items you just

     10    told me about --

     11          A.      Yes, correct.

     12          Q.      -- with the logistics department?

     13          A.      Um-hum.

     14          Q.      Okay.    You mentioned customer service.

     15                  What did you want to talk to them about?

     16          A.      I wanted customer service to realize that

     17    national accounts wasn't their enemy and that they

     18    actually could talk to us and talk to my people and

     19    they could do so in a normal tone of voice.               So that

     20    was step one.      And then how they could more

     21    efficiently service our customers and how we could

     22    help them do so.

     23          Q.      Who was -- give me the dynamic, who is

     24    usually angry on this --

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      1           A.     I didn't -- I -- well, to be honest with

      2    you, I couldn't understand why anybody was angry with

      3    anybody.     It was -- it was literally open warfare.

      4           Q.     Okay.

      5           A.     Which I couldn't understand from the

      6    minute I walked in.

      7           Q.     And what was -- what were they fighting

      8    about?

      9           A.     Customer service didn't want national

     10    accounts to tell them what to do and customer

     11    service -- and national accounts didn't want customer

     12    service to tell them what to do, and they were

     13    communicating mostly in writing because they couldn't

     14    be in the same room.

     15           Q.     Were they in the same physical building?

     16           A.     Yes.

     17           Q.     And what was customer service responsible

     18    for?

     19           A.     They were responsible for getting orders

     20    and making sure they get out and dealing with customer

     21    issues, dealing with returns to a -- a great degree.

     22           Q.     And were they dealing with -- was customer

     23    service dealing with opioids at that point?

     24           A.     They were dealing with all products.

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      1          Q.      Okay.    And so customer service would

      2    receive an order for OxyContin from a particular

      3    wholesaler, is that a possibility?

      4          A.      Yes.

      5          Q.      And you were trying to communicate with --

      6    your national account representatives wanted to be --

      7    you wanted them to be able to communicate with

      8    customer service so they would understand if there

      9    were issues with either the orders or the returns or

     10    any other kind of issues that might come up?

     11          A.      Yeah, up until about 2010, 2009,

     12    because in an electronic ordering world, Class 2s were

     13    paper driven on NCR paper, probably the only place

     14    left in the country that still used the NCR paper.

     15    And since it was all -- everything traveled by mail,

     16    efficiency in getting it done could mean out of stock

     17    or in stock, so working together we facilitated making

     18    that a more smooth running operation.

     19          Q.      Okay.    And -- and you -- that was

     20    something that you facilitated?

     21          A.      I -- I had a good partner in the director

     22    of customer service.

     23          Q.      And who was that?

     24          A.      Laura Watson.

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      1          Q.      I'm sorry?

      2          A.      Laura Watson.

      3          Q.      Oh, when we saw her name, she was one of

      4    the names that you mentioned in your list that you

      5    showed me this morning, correct?

      6          A.      Right.

      7          Q.      And who headed up logistics, if you

      8    recall?

      9          A.      Jeff Zerillo, Z-e-r-i-l-l-o.

     10          Q.      When you were talking earlier, and we'll

     11    get into this in more detail, but when you were

     12    talking earlier today about red flags or alerts with

     13    respect to particular shipments of opioids or whether

     14    a shipment was larger than the -- than the month or

     15    six months prior to that, would that data be flagged

     16    by customer service or --

     17          A.      The system would flag it.

     18          Q.      And whose -- whose system was it?

     19          A.      It was the -- you mentioned ValueCentric

     20    early on.

     21          Q.      Um-hum.

     22          A.      It was the data feed that we were getting

     23    from them that was put through our order system.

     24          Q.      And would that be available to both

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      1    the retailer.      So it would just look -- it would get

      2    rid of this arrow here?

      3          A.      Yeah.

      4          Q.      Okay.

      5          A.      Yes.

      6          Q.      Now, let's talk about in this chart where

      7    the money is going.

      8                  The Walgreens Corp. -- corporate orders

      9    directly to Purdue corporate.           Who gets billed for

     10    that order?     Who pays for that?

     11          A.      If that was the case, Walgreens would get

     12    billed.

     13          Q.      And would it be Walgreens corporate that

     14    would be billed?

     15          A.      Correct.

     16          Q.      And so this -- the -- the money would go

     17    this way?

     18                  Oh, you can't see it at all.           So the -- so

     19    Walgreens -- so the bill would go from Purdue

     20    corporate to Walgreens corporate, Walgreens corporate

     21    would then pay the bill back to Purdue corporate?

     22          A.      Yes.

     23          Q.      Okay.    When the order comes from McKesson,

     24    who do you send the bill to?

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      1          A.      McKesson.

      2          Q.      And then McKesson sends the money back to

      3    corporate?

      4          A.      Correct.

      5          Q.      Is that correct?

      6                  Now, the data issues that we spoke about

      7    this morning and a little bit this afternoon, you, in

      8    national accounts, you are receiving daily -- I know

      9    sometimes it's weekly, but you had -- you would like

     10    daily information with respect to the product that

     11    goes out as well as -- the product that's left the

     12    wholesaler or the distribution center, as well as how

     13    much product went in, that's coming to you at national

     14    accounts?

     15          A.      Yes.

     16          Q.      And where is that coming from?

     17                  Are you getting that data from Walgreens

     18    corporate or do you get the data from the Walgreens

     19    distribution center?

     20          A.      In this scenario we would not be getting

     21    data from Walgreens.        The data only comes from the

     22    wholesaler.

     23          Q.      I didn't hear the last thing.

     24                  Only from the wholesaler, so only from --

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      1    you would not get any data from Walgreens?

      2          A.      Right.

      3          Q.      And that's because of what you told me

      4    they had the -- the blinded policy or blocked policy?

      5          A.      No, we would not be getting it at the

      6    store level in this case because Walgreens ordered

      7    direct.    They stopped ordering direct altogether

      8    after -- shortly after this slide was produced.

      9          Q.      Okay.    If they -- when they stopped

     10    ordering direct, were they then going through a

     11    wholesaler --

     12          A.      Yes.

     13          Q.      -- like McKesson?

     14          A.      Yes.

     15          Q.      Which -- which wholesaler did they use?

     16          MR. STANNER:      Objection to form.

     17    BY THE WITNESS:

     18          A.      AmerisourceBergen.

     19    BY MS. CONROY:

     20          Q.      And would that mean that after -- after

     21    they stopped ordering directly to corporate and they

     22    were using AmerisourceBergen, would you in national

     23    accounts be receiving that daily data from Ameri --

     24    about the Wal -- about Walgreens from

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      1    AmerisourceBergen?

      2          A.      This was 20-- -- 2006.         I don't believe we

      3    were getting the data at that time.

      4          Q.      When do you think it started that you got

      5    the data?

      6                  Let -- let me ask it this way.           We talked

      7    earlier about the suspicious order monitoring and that

      8    seemed to be at the very beginning of 2007.

      9                  Were you getting it by 2007?

     10          A.      I believe it was later than that, but I

     11    don't have the exact date off the top of my head.                It

     12    was later than that.        I don't have the exact date.

     13          Q.      Did you have any other way of getting

     14    individual store data in 2007 other than from a

     15    wholesaler?

     16          A.      The only way we got sell out data was

     17    through a wholesaler if we had an agreement in place.

     18          Q.      What about from IMS, did you ever use IMS

     19    for this -- for some ability to see what was happening

     20    at the retail level?

     21          A.      I did not use IMS for that.

     22          Q.      Up until the wholesalers were involved and

     23    that data was available, did you not have -- did you

     24    not have data with respect to what was being held and

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      1    sold out of the distribution centers?

      2          MR. HOFFMAN:      Object to form.

      3    BY THE WITNESS:

      4          A.      Could you rephrase that?         I'm not sure.

      5    BY MS. CONROY:

      6          Q.      Sure.

      7          A.      You --

      8          Q.      I -- you -- when you first spoke to me

      9    about this, we talked -- you talked about there being

     10    paper forms back and forth and a lot of difficulty in

     11    evaluating what -- what inventories were with the

     12    wholesalers.

     13                  Do you recall that testimony?

     14          A.      I believe I indicated that it was

     15    difficult to know what was sold out.             We always knew

     16    what was sold in.

     17          Q.      Okay.    So you -- you always knew what you

     18    sent to the wholesaler?

     19          A.      Correct.

     20          Q.      Is that correct?

     21                  And you always knew what you sent to

     22    Walgreens or anyone else that had a direct contract,

     23    correct?

     24          A.      Correct.

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      1          Q.      What it was then difficult to determine

      2    was how much went out from the wholesaler?

      3          A.      How much was sold.

      4          Q.      Okay.    And at some point you had some

      5    ability to collect that data?

      6          A.      Yes, once we had agreements in place.

      7          Q.      And those were the fee-for-service

      8    agreements?

      9          A.      That is correct.

     10          Q.      And you did not have that data until you

     11    entered into the fee-for-service agreements?

     12          A.      That is correct.

     13          Q.      And you did not use IMS for that purpose?

     14          A.      No.

     15          Q.      And once you had the fee-for-service

     16    agreements in place, were you using -- were you using

     17    ValueCentric at that point or was there some other

     18    data company that you were using?

     19          A.      We were using a -- a different vendor who

     20    was -- I will -- I don't remember.

     21          Q.      Did it have "Edge" in the name?

     22          A.      Oh, Edge Dynamics, thank you for that.

     23          Q.      Edge.    Okay.    So it was -- it was -- how

     24    long was it Edge Dynamics?

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      1          A.      I'm thinking about three years.

      2          Q.      Okay.    And then it went to ValueCentric?

      3          A.      ValueCentric.

      4          Q.      Is there a difference between ValueCentric

      5    and ValueTrak, or is one of them the name of the

      6    product?

      7          A.      ValueTrak is the product.

      8          Q.      Do you recall when you started to use

      9    ValueCentric or when you started to use Edge Dynamics,

     10    so can you put any kind of a -- any kind of years on

     11    it?

     12          A.      It is just an estimate, I think Edge was

     13    2003 to 2006 and after that it was ValueCentric would

     14    be my estimate.

     15          Q.      And it was ValueCentric until May of 2014

     16    at least?

     17          A.      At least.

     18          Q.      Do you know if -- if Purdue still uses

     19    ValueCentric?

     20          A.      I don't know.

     21          Q.      Let's just -- don't put that too far away

     22    because I'll probably have some more questions about

     23    it, but -- so, do you want a Post-It note to keep that

     24    page?

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      1          MS. PORTER:      Thank you.

      2    BY MS. CONROY:

      3          Q.      Did you have any fee-for-service

      4    agreements in place during the time that you were

      5    using Edge Dynamics?

      6          A.      Yes.

      7          Q.      Do you recall who you had those in place

      8    with?

      9          A.      I don't recall all of the accounts, but

     10    certainly the may -- three major wholesalers.

     11                       (WHEREUPON, a certain document was

     12                         marked Purdue-Seid Deposition Exhibit

     13                         No. 007, for identification, as of

     14                         12/12/2018.)

     15    BY MS. CONROY:

     16          Q.      I'll show you what I'm marking as

     17    Exhibit 7.     PPLPC004000247116 and 118 is the native

     18    production of a "2010 National Accounts," this says

     19    "Level 150."

     20                  Is that also a training --

     21          A.      Yes.

     22          Q.      -- training deck?

     23                  What's Level 150?

     24          A.      I think it's the second phase of new

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      1    hires, they were probably out in the field for a while

      2    and come back.

      3          Q.      And this is a -- you've sent this to Janet

      4    Koch on Friday, August 20th, 2010.

      5                  Do you see that?       And then you have

      6    attached the slide deck?

      7          A.      Um-hum.    Yes.

      8          Q.      Okay.    And this looks pretty familiar from

      9    what we looked at before, we got a little bit

     10    better -- the New Jersey guys are a little bit better

     11    dressed this time around.

     12                  Then if you would turn to, there is

     13    another diagram in here -- or let's -- before we do

     14    that, let's look.       These are numbered.        Let's go to

     15    Page 16.     And this is 2010.

     16                  Is Ms. Reuss -- has she moved or is she

     17    just not on this chart?

     18          A.      She got remarried.

     19          Q.      Oh, okay.     So what's her last name?

     20          A.      Sicillano.

     21          Q.      Got it.    Okay.

     22                  And now you have one analyst, is that

     23    correct, instead of two?

     24          A.      Yes.

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      1          Q.      Okay.    And then here are your four

      2    national account managers?

      3          A.      Yes.

      4          Q.      And the -- and their responsibilities?

      5          A.      That's correct.

      6          Q.      And then if you turn to the first diagram,

      7    which is:     "The Purdue chain drug supply chain

      8    warehousing (with vault)."

      9                  Do you see that?

     10          A.      Yes.

     11          Q.      So this is a picture of, here in the

     12    center, this is Purdue in Stanford, Connecticut,

     13    correct?

     14          A.      Yes.

     15          Q.      That's the company headquarters?

     16          A.      Yes.

     17          Q.      And then take a look at the orange arrows.

     18    There is an orange arrow out that says "Walgreen 222."

     19                  What does that mean?

     20          A.      That if there is a Walgreen-specific order

     21    that is designated not for their warehouse but to be

     22    distributed through Cardinal, it would be -- well,

     23    that's really not the case.

     24                  What this is showing is that -- an account

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      1    like Walgreens that has a vault can order direct or

      2    they can get product through the wholesaler.

      3          Q.      I -- oh, I see.       Okay.

      4                  So on the left-hand side we have Walgreens

      5    and the green arrow is a -- is a direct order?

      6          A.      Right.

      7          Q.      And on the right-hand side it's a

      8    wholesaler order?

      9          A.      Correct.

     10          Q.      And then when it's a direct order, Purdue

     11    is sending that order down to Purdue Pharmaceuticals

     12    in Wilson, North Carolina, we've got a picture of that

     13    manufacturing plant, and then the product goes out to

     14    the Walgreens distribution center that has the vault,

     15    correct?

     16          A.      Correct.

     17          Q.      And then it goes out to the individual

     18    stores.

     19                  And in a direct order, would Purdue

     20    national accounts in 2010 see any of the data with

     21    respect to Walgreens if they had a fee-for-service

     22    with Walgreens?

     23          A.      We would not have a fee-for-service with

     24    Walgreens.

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      1          Q.      And so you would not see -- you would not

      2    see the data?

      3          A.      They would not see the store-level data.

      4          Q.      And then if we take a look on the

      5    right-hand side, Cardinal Health places an order on

      6    behalf of Walgreens, is that correct?

      7          A.      Correct.

      8          Q.      And then Purdue sends that order to

      9    Wilson, North Carolina, the product is then sent back

     10    to Cardinal Health, the distribution center that has a

     11    vault, correct?

     12          A.      Correct.

     13          Q.      And then that is delivered in this big

     14    arrow to the Walgreens distribution center with a

     15    vault or can it go to the individual Walgreens?

     16          A.      Either they had -- they would do on

     17    occasion overlapping.

     18          Q.      So --

     19          A.      Ultimately it was Cardinal to the stores.

     20          Q.      Okay.    So -- so at some point you would --

     21    it would go directly to the stores from Cardinal and

     22    that sort of data you could see, correct?

     23          A.      Probably not until a couple of years after

     24    this.

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